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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     FEDERAL TRADE COMMISSION,                         Case No. 22-cv-07307-AMO
                                                        Plaintiff,
                                   8
                                                                                           ORDER OF RECUSAL
                                                 v.
                                   9
                                                                                           Re: Dkt. No. 54
                                  10     PRECISION PATIENT OUTCOMES, INC.,
                                         et al.,
                                  11                    Defendants.
                                  12
Northern District of California
 United States District Court




                                  13          TO ALL PARTIES AND COUNSEL OF RECORD:

                                  14          I, the undersigned judge of the court, to avoid even the appearance of partiality in the

                                  15   above-entitled action, hereby recuse myself from this case and request that the case be reassigned

                                  16   pursuant to the Assignment Plan.

                                  17          All pending dates of motions, pretrial conferences and trial are hereby vacated and will be

                                  18   reset by the newly assigned judge.

                                  19          IT IS SO ORDERED.

                                  20   Dated: July 26, 2023

                                  21                                                   ______________________________________
                                                                                       ARACELI MARTINEZ-OLGUIN
                                  22                                                   United States District Judge
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